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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                 Plaintiff,

vs.                                                                 NO. CR 05-0144 RB

JERRY TRAXLER, ADAM LADUE,
and DENNIS DENNING,

                 Defendants.

                              MEMORANDUM OPINION AND ORDER

          THIS MATTER came before the Court on Defendant Denning’s Renewal of Motion to

Suppress Evidence, filed on November 7, 2005. Having considered the briefs, evidence, arguments

of counsel, and being otherwise fully advised, I find that the renewed motion to suppress should be

denied.



I. Background.

          On June 21, 2005, after an evidentiary hearing, I issued a Memorandum Opinion and Order

denying Denning’s motion to suppress. The case was tried before a jury on June 27 and 28, 2005

before the Honorable James O. Browning, United States District Judge. At trial, Denning renewed

his motion to suppress and requested that the motion be heard by Judge Browning. At the end of the

trial, Judge Browning took the renewed motion under advisement. Subsequently, Denning was

instructed to file a written motion. Denning filed the renewed motion and submitted excerpts of the

trial transcript. After review of the renewed motion and trial transcript, Judge Browning consulted

with me and requested that I rule on the renewed motion.
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II. Discussion.

        In my Memorandum Opinion and Order of June 21, 2005, I found that the stop was justified

at its inception, reasonable in scope, and that there was probable cause for arrest. In the renewed

motion, Denning repeats his arguments that the stop and arrest were not justified. Denning states that

the trial judge is in a better position to evaluate the testimony of witnesses at trial. However, Denning

does not explain how the trial testimony differed from the testimony at the suppression hearing in any

material respect. Agent testimony at the suppression hearing was credible and that credibility was

not called into doubt by the trial testimony. For the reasons articulated in my Memorandum Opinion

and Order of June 21, 2005, I find that the renewed motion should be denied.

WHEREFORE,

        IT IS ORDERED that Defendant Denning’s Renewal of Motion to Suppress Evidence, filed

on November 7, 2005, is denied.




                                                        ___________________________________
                                                        ROBERT C. BRACK
                                                        UNITED STATES DISTRICT JUDGE




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